Case 1:17-cv-00581-.].]I\/|-LDA Document 1-3 Filed 12/15/17 Page 1 of 5 Page|D #: 48

EXHIBIT C

Case 1:17-cv-00581-.].]I\/|-LDA Document 1-3 Filed 12/15/17 Page 2 of 5 Page|D #: 49

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P.O. BOX 9066
TEMECULA. CA 92589-9066

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Bi|erka Bordas

29 GEORG|A AVE

PROV|DENCE. R| 02905-5408

DEMANDOSBKDC__FC

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o'c':";;e~ H€?Pin§ Homeowners &WM¢ We Dol la T°n Fm;"lscc} 746 ' 2935
05/25/2017

 

Sent Via I"`irsr Class Maii

Bilerka Bordas
29 GEORGIA AVE
PROVIDENCE, Rl 02905-5408

Property Address: 29 Georgia Ave
Providence, R102905-5408

NOTlCE OF DEFAULT
AVI§Q lMPORTANTE PAM PER§QNA§ QQE HABLAN E§PAF|QL:

Esta notificacic')n es de suma importancia. Puede afectar su derecho a continuar viviendo en su casa. Si no entiende
su contenido, obtenga una traduccion inmediatamente o contactenos ya que tenemos representantes que hablan
espar'iol y estan disponibles para asistir.

SPEC\AL NOT\CE lN THE EVENT YOU HAVE FILED BANKRUPTCV

if you have received an Order of Discharge in a Chapter 7 case filed under the Bankruptcy Code of the United States,
this notice is not intended as an attempt to collect any debt from you personally. if you have received an Order of

Discharge in a Chapter 11, 12 or 13 bankruptcy case, this notice is not an attempt to collect a pre~petition debt
pursuant to a completed and confirmed Bankruptcy Plan. if the foregoing applies to you, this notice is sent to you
only as a preliminary step to an “ln Rem“ foreclosure on the mortgage against the above-referenced property.
Provisions may be contained within the mortgage/deed of trust that requires notice prior to foreclosure As such, this
is not an attempt to assert that you have any personal liability for this debt contrary to any entered Banl<ruptcy Order
of Discharge.

in addition, if you have recently filed a petition under the Bankruptcy Code, this notice has been sent to you because
we have not been notified of your bankruptcy case. if the foregoing applies to you, it is lMPORTANT that you or your
bankruptcy attorney contact us immediately and provide us with the following information: date and jurisdiction of
your filing. your case number and the bankruptcy chapter number under which you have filed.

 

NMLS # 1852 DEMANDOSBKDCM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for
that purpose. Howeve , if the debt is in active bankruptcy or has been discharged through bankruptcy, this
communication is purely provided to you for informational purposes only with regard to our secured lien on the above
referenced property. lt is not intended as an attempt to collect a debt from you personally

Page 1 of 4

Case 1:17-cv-OO581-.].]l\/|-LDA Document 1-3 Filed 12/15/17 Page 4 of 5 Page|D #: 51

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Mortgage payments on the above referenced account are past due, which has caused a default under the terms of
the Mortgage or Deed of Trust. As of 05/25/2017, the following amounts are past due:

 

 

 

 

 

 

 

 

 

 

 

Principal and interest $8,151.60
interest Arrearage $0.00
Escrow $13,294.95
Late Charges $203.76
insufficient Funds Charges $0.00
Fees / Expenses $5,391.74
Suspense Balance (CRED|T) $4.75
interest Reserve Balance (CRED|T) $0.00
TOTAL DUE $27,037.30

 

ln order to cure the default, payment for the entire total amount past due plus any amount(s) that become(s) due in
the interim must be received on or before 07/01/2017, at the address listed on page four of this notice. Payment
must be received via MoneyGram, bank check. money order or certified funds. Please be aware that, after
acceleration of the debt, there may be expenses and attorney's fees and costs incurred by us to enforce the terms of
the mortgage agreement, in addition to the overdue amount on the mortgage Any payment to reinstate the
mortgage loan after acceleration must therefore include an amount sufficient to cover such expenses and fees
incurred. Payments received that are less than the amount required to reinstate the mortgage loan will be returned.
and will not stop any foreclosure proceedings that have begun. PRiOR TO $UBMITTING A PA¥MENT, PLEASE CALL US
TO VER|FY THE EXACT AMOUNT PAST DUE ON THE ACCOUNT.

Failure to cure the default on or before the date specified in the notice may result in acceleration of the sums
secured by this Security instrument and sale of the Property. l.lpon acceleration, the total obligation will be
immediately due and payable without further demand. ln foreclosure proceedings we are entitled to collect the
total arrearage in addition to any expenses of foreclosure, including but not limited to reasonable attorney’s fees
and costs. A borrower has the right to reinstate the loan after acceleration and the right to bring a court action to
assert the non~existence of a default or any other defense to acceleration and sale.

if the default is not cured on or before the date specified above, chen at its option may require immediate
payment in full of all sums secured by this Security instrument without further demand and may invoke the
STATUTORV POWER OF SALE and any other remedies permitted by Applicable Law. chen shall be entitled to collect
all expenses incurred in pursuing the remedies provided under applicable law, including, but not limited to,
reasonable attorneys‘ fees and costs of title evidence if chen invokes the STATUTORY POWER OF SALE. chen shall
mail a copy of a notice of sale to Borrower and to other persons in a manner prescribed by applicable law.

 

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Page 2 of 4

Case 1:17-cv-OO581-.].]|\/|-LDA Document 1-3 Filed 12/15/17 Page 5 of 5 Page|D #: 52

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We will work with bankruptcy lawyers, foreclosure defense lawyers, housing counselors, and other authorized
representatives of our customers However, we will only release information once written authorization has been
obtained, as required by law. `

ln addition, a l-iUD counseling agency may be able to provide assistance To locate the l-iUD-approved counseling
agency, call the i-iUD Housing Counseling Service at 800.569.4287 or consult HUD’s website at M,HUD.gov.

Attention Servicemembers and Dependents: Servicemembers on “active duty” or “actlve service," or a spouse or
dependent of such a servicemember, may be entitled to certain legal protections under the federal Servicemembers
Civil Relief Act (50 U.$.C. App. §§ 501-S97b) ("SCRA") regarding the servicemernber’s interest rate and foreclosure
protections SCRA and certain state laws provide important protections for you. if you are currently in the military
service, or have been within the last twelve (12) months, please notify OCWF.N immediately Servicemembers and
dependents with questions about the SCRA should contact their unit’s lodge Advocate. or their installation's Legal
Assistance Officer. A military legal assistance office locator for all branches of the Armed Forces is available at
http://legalassistance.law.ai.mil/content/locator.php. Military OneSource is the U.S. Department of Defense's
information resource if you are listed as entitled to legal protections under the SCRA, please go to
www.militaryonesource.mil/legal or call 800.342.9647 (toll free from the United States) to find out more
information Dialing instructions for areas outside the United States are provided on the website. i-iorneowner
counseling is also available at HUD-certified housing counselors (http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm).
You can also contact us toll~free at 800.746.2936 if you have questions about your rights under SCRA.

lf the account cannot be brought current, we should be contacted immediately to discuss possible alternatives to
foreclosure OCWEN wants to help remedy the delinquent status of this account. We would like to discuss the
alternatives that might be available While our primary objective is the collection of past due amounts on the loan.
we want to work to find the best available alternative to bring the account current,

Please visit our website at www.ocwencustomers.corn where the account can be reviewed and financial information
entered.

if you have any questions or concerns please call us toll-free at 800.746,2936. We are available Monday through
Friday 8 am to 9 pm, Saturday 8 am to 5 pm and Sunday 9 am to 9 pm ET.

jesse Luna has been assigned as your relationship manager and will be your designated representative for resolution
inquiries and submission of documents

 

 

Sincerely,
i.oan Servicing chen Loan Servicing, LLC
Toll Free Phone; 800,746,2936 Attention: Research Department
P.O. Box 24736
West Palm Beach. FL 33416'4736
NMLS # 1852 DEMANDOSBKDCM

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Page 3 of 4

